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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND


PRESCOTT LOVERN, SR.

                          PLAINTIFF,


                                                    Case No. l:18-cv-471
CITIBANK, N.A.
MASTERCARD INCORPORATED


                          DEFENDANTS.


                            DEFENDANTS' RESPONSE TO
                    PLAINTIFF'S MOTION FOR RECONSIDERATION


       Defendants Mastercard Incorporated and Citibank, N.A. hereby file this Response to

Plaintiff Prescott Lovem's Motion for Reconsideration Pursuant to Rule 60(b)(l)(6) & (c)(1)

("Motion" or "Mot."). On August 21, 2018, this Court granted Defendants' motion to dismiss

and denied Plaintiffs motions for sanctions and remand ("the Order"). On November 29, 2018,

Plaintiff filed a Motion asking the Court to "vacate its Order entered August 22, 2018, and

remand the case to Circuit Court, Harford County Maryland." (Mot. at 6).

       After Plaintiff filed his initial complaint in Harford County Circuit Court, Defendants

filed a motion to dismiss in that court arguing that Plaintiff lacked standing to sue under

Maryland law and that his allegations failed to state a claim. When Plaintiff filed additional

paper revealing the removability of the case from state court. Defendants filed a notice of

removal, which brought the case to this Court.

       In evaluating Defendants' motion to dismiss, this Court raised sua sponte the question of

subject matter jurisdiction, concluded that it lacked jurisdiction over Plaintiffs suit under Article
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Ill, and dismissed the suit on that basis. (Order at 4). The reason the Court cited for lacking

Article III standing is the same reason Defendants argued Plaintiff lacked standing under

Maryland law: Plaintiffs Complaint offers no facts to support the existence of an assignment of

a valid legal interest from Jane Doe, and thus there are no allegations indicating that Plaintiff has

a personal stake in the suit. The Court dismissed the suit on that basis.

        Under Fourth Circuit law, remand is the appropriate remedy where a federal court

concludes it lacks subject matter jurisdiction over an action removed from state court. See Roach

v. W. Virginia Reg'Uail & Corr. Facility Auth., 74 F.3d 46, 48-9 (4th Cir. 1996). Although

some Circuits recognize a futility exception to § 1447(c) where the state court would lack

jurisdiction or where there is no legal possibility of a recovery—as here, given that Plaintiff

equally lacks standing under state law—the Fourth Circuit does not recognize such a futility

exception. See id. at 49. See also Int'l Primate Prot. League v. Administrators ofTulane Educ.

Fund, 500 U.S. 72, 87 (1991). Therefore, Defendants have no objection to remand.1



                                                              Respectfully submitted:




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  Plaintiffs Motion, although confusing, appears to raise a number of additional arguments that are unfounded and,
in any event, irrelevant to the relief that he seeks, which is remand. Therefore, in the interests of efficiency,
Defendants do not specifically address them here, other than to comment that they are without merit.
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                                 CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that on this 17th day of December 2018, I caused a true and

correct copy of the Defendants’ Response to Plaintiff’s Motion for Reconsideration to be served

on Plaintiff by overnight mail, as set forth below:


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Plaintiff


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